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                                                       U.S. Department of Justice

                                                       Criminal Division



                                                       Fraud Section
                                                       1400 New York Avenue, NW
                                                       Washington, D.C. 20005



                                                      August 8, 2023

Via Email

Nelson A. Boxer
David Hoffman
Chanel Thomas
Petrillo Klein & Boxer LLP
655 Third Avenue
22nd Floor
New York, NY 10017

       Re:             United States v. Glenn Oztemel No. 23-CR-00026 (KAD)

Counsel:

       The government writes in response to your July 24, 2023 letter (the “Letter”) seeking thirteen
categories of discovery. As you are aware, the government has produced nearly 2,000,000 pages of
discovery in this case. This discovery includes, among other things, several hundred thousand
records responsive to the requests in your Letter, including over 148,000 pages of records obtained
by the government through the Mutual Legal Assistance Treaty (“MLAT”) process. As additional
discoverable records are identified or come into the government’s possession, custody, or control,
we will produce them to you.

       Regarding Request 1 of your Letter, as we have already conveyed (see June 7, 2023 and July
3, 2023 letters to N. Boxer), the government has already produced all relevant reports of interviews
prepared by the Federal Bureau of Investigation, as well as all agent notes related to those interviews,
and we and will continue to produce such reports and notes if and when additional relevant interviews
are undertaken and memorialized. We are also reviewing any factual representations made by
attorneys for represented parties and will disclose any relevant facts that are not already known to
you through other discovery pursuant to our Brady and Giglio obligations. Finally, as we stated in
our May 26, 2023 letter, we are not aware of any legal authority supporting your demand for notes
prepared by government attorneys.

        Regarding Requests 2 and 6 of your Letter, we have already produced all responsive records
obtained from Brazilian authorities pursuant to the MLAT process (see Production Volume 6) and
all documents voluntarily provided to the government by Mr. Berkowitz (see Production Volumes
2, 4 & 5). To the extent that law enforcement authorities in Brazil may be in possession of additional
records responsive to this request, such records are outside of the government’s possession, custody,
and control. See United States v. Lee, 723 F.3d 134, 137–41 (2d Cir. 2013) (finding no joint
investigation and affirming the district court’s conclusion that defendant was not entitled to
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documents in possession of foreign law enforcement “under any arguable rule of discovery because
these materials were not even within the ‘government’s possession, custody, or control’”); see also
United States v. Paternina-Vergara, 749 F.2d 993, 997–98 (2d Cir. 1984) (“The investigation of
crime increasingly requires the cooperation of foreign and United States law enforcement officials,
but there is no reason to think that Congress expected that such cooperation would constitute the
foreign officials as agents of the United States for purposes of the Jencks Act.”). We do not share
your characterization of the United States’ and Brazil’s respective investigations as a “joint”
investigation.

        Regarding Requests 3, 4, 5, 7, 10, 11, and 12 of your Letter, to the extent we are in the
possession, custody, or control of such records, we have already produced them to you or are in the
process of producing them to you. If additional records related to these requests are identified, we
will produce them to you as well.

        Regarding Requests 8 and 9 of your Letter, as we have already advised you and the Court
(see May 26, 2023 letter to N. Boxer and Dkt. No. 54), we are not in possession of Mr. Berkowitz’s
tax returns.

     Finally, regarding Request 13 of your Letter, we have no obligation to produce to you any
MLAT requests pursuant to Rule 16 or any other legal authority.

       Please do not hesitate to contact us with any questions regarding this letter.



                                               Glenn S. Leon
                                               Chief, Fraud Section
                                               Criminal Division
                                               United States Department of Justice

                                               /s/ Clayton P. Solomon
                                               Clayton P. Solomon
                                               Trial Attorney
                                               Fraud Section


 cc:    Michael S. McGarry, Assistant United States Attorney, District of Connecticut
        Allison McGuire, Trial Attorney, Fraud Section
        Jonathan Robell, Assistant Chief, Fraud Section
